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 6
     ATTORNEYS FOR DEFENDANTS, CARPENTERS SOUTHWEST
 7   ADMINISTRATIVE CORPORATION and BOARD OF TRUSTEES
     FOR THE CARPENTERS SOUTHWEST TRUSTS
 8

 9                          UNITED STATES DISTRICT COURT
10                                    DISTRICT OF ARIZONA
11
12   HKB, INC., an Arizona corporation,           2: 16-cv-03799-DJH
     doing business as SOUTHWEST
13   INDUSTRIAL RIGGING,
                                                  DECLARATION OF JAMES PESTER
14                                                IN OPPOSITION TO PLAINTIFF'S
                                                  AMENDED MOTION FOR SUMMARY
                         Plaintiff,               JUDGMENT
15                                                RE: STATUTE OF LIMITATION
     v.
16
     BOARD OF TRUSTEES FOR THE
17   CARPENTERS SOUTHWEST
     TRUSTS;. erroneously sued as BOARD
18   OFTRU~TEESFORTHE
     SOUTHWEST CARPENTER'S
19   SOUTHWEST TRUST; et al
20                       Defendants.
21   CARPENTERS SOUTHWEST
     ADMINISTRATIVE CORPORATION
22   a California non-profit corporation; et al

23                       Plaintiffs,
     v.
24
     H K B Inc., et al
25
                         Defendants.
26
27
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 1        I, James Pester, state and declare as follows:
 2        1.     I was employed as a Business Representative by theSouthwest
 3   egional Council of Carpenters ("SWRCC"). I have personal knowledge of the facts
 4   et forth herein. If called to testify I could and would testify to the following:
 5        2.     During 2013, as a part of my job responsibilities, I signed Southwest
 6 ndustrial Rigging to a memorandum agreement.

 7        3.     In the course of signing Southwest Industrial Rigging to a memorandum
 8   greement, I participated in at least three meetings at the offices of Southwest
 9 ndustrial Rigging in Phoenix, Arizona. Harry Beggs was present for one of the
10   eetings. Southwest Industrial Rigging was represented by Tom Allen and, in one of
11    e meetings, by Mr. Allen and Xonia Ornelas. In the course of these discussions,
12     . Allen and Ms. Ornelas affirmed that Southwest Industrial Rigging wished to

13   nter into a memorandum agreement instead of a single project agreement.
14        4.     In the discussions that I and Mr. Beggs had in person with Mr. Allen
15    d Ms. Ornelas, Mr. Allen and Ms. Ornelas represented that Mr. Allen had
16   uthority to bind Southwest Industrial Rigging to agreement.
17        5.     In the discussions that I had in person with Mr. Allen, Mr. Allen stated
18 hat his job title was Manager of Construction or a title to this effect.

19        6.     Mr. Allen also indicated that Southwest Industrial Rigging had
20   reviously utilized the services of union iron workers. He made this statement in the
21   ourse of discussing Southwest Industrial Rigging's familiarity with labor
22
23        7. Attached hereto as Exhibit 1 is a true and correct copy of theMemorandum
24   greement between Southwest Industrial Rigging and the SWRCC executed on or
25   bout August 22, 20 13.
26        I declare under penalty of perjury that the above statements are true and
27

28        Executed this 4'ltlday of March, 2017, in     Fo"' +~~ s            (~

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                             CERTIFICATE OF SERVICE

                      (H K B, Inc., etc., v. Board of Trustees, etc.)
                     (USDC-Arizona Case No. 2:16-cv-03799DJH)


X   I hereby certify that on April 13, 2017, I electronically transmitted the attached
    document, DECLARATION OF JAMES PESTER IN OPPOSITION TO
    PLAINTIFF'S AMENDED MOTION FOR SUMMARY JUDGMENT RE:
    STATUTE OF LIMITATION, to the Clerk's Office using the CM/ECF System for
    filing and transmittal of a Notice of Electronic Filing to the following CM/ECF
    registrants:

          James Edward Holland, Jr. - jholland@stinson.com,cbarajas@stinson.com
          Javier Torres - javier.torres@stinson.com,cynthia.fischer@stinson.com


                Executed on April13, 2017, at Los Angeles, California.


X   I declare that I am employed in the office of a member of the bar of this court at whose
    direction the service was made.



                                          Lu     . Moure-Pasco, Secretary
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